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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION


JOHN DOE, JOHN DOE II, and                            §
JOHN DOE III                                          §
                                                      §
                                                      §
                                                      §
                                                      §
VS.                                                   §       CIVIL ACTION NO. 2:08-cv-00299
                                                      §
                                                      §
ST. STEPHEN’S EPISCOPAL SCHOOL, et al.                §


                    PLAINTIFFS’ MOTION TO EXCLUDE OPINION
              TESTIMONY OF DEFENDANTS’ EXPERT BARBARA LONG, MD.


TO THE HONORABLE U.S. DISTRICT JUDGE JANIS GRAHAM JACK:

       COME NOW, JOHN DOE, JOHN DOE II and JOHN DOE III, Plaintiffs in the above-

styled and numbered cause, and file this motion to exclude the testimony of Barbara Long, MD. ("Dr.

Long") pursuant to Rules 702 and 703 of the Federal Rules of Evidence and would show the Court

as follows.

                                       Factual Background

       The defense hired Dr. Barbara Long, a psychiatrist practicing in Georgia, as their retained

expert. In late July, Dr. Long came to Houston, Texas and administered four psychological tests to

each of the Plaintiffs: the MMPI-2, MCMI-III and Rorschach structured Interview of Reported

Symptoms, as well as Sentence Completion. Dr. Long also interviewed each Plaintiff. Dr. Long

produced reports for each Plaintiff based in part on the testing and her “scoring” of each test.1

       1
         See Dr. Long’s reports and tests tendered to Plaintiffs’ counsel attached hereto as
Exhibits “A”, “B” and “C”.
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                                           Legal Authority

        District courts enjoy wide latitude in determining the admissibility of expert opinion testimony

and “that decision will not be disturbed on appeal unless it is manifestly erroneous.” Watkins v.

Telsmith, Inc., 121 F.3d 984, 988 (5th Cir. 1997); Eiland v. Westinghouse Elec. Corp., 58 F.3d 176,

180 (5th Cir. 1995). Federal Rule of Evidence 702 and the Supreme Court’s ruling in Daubert, guide

the court’s determination of the admissibility of expert opinion testimony. In Daubert, the Supreme

Court set forth a two step analysis for expert testimony:

                Faced with a proffer of expert scientific testimony, then, the trial judge
                must determine at the outset, pursuant to Rule 104(a), whether the
                expert is proposing to testify (1) scientific knowledge that (2) will
                assist the trier of fact to understand or determine a fact in issue. This
                entails a preliminary assessment of whether the reasoning or
                methodology underlining the testimony is scientifically valid and of
                whether that reasoning or methodology properly can be applied to the
                facts in issue.

509 U.S. at 592-593.

        In simple terms, Fifth Circuit courts are charged with the responsibility of analyzing whether

the expert testimony is both reliable and relevant to the facts of the case. Id.; Guy v. Crown Equip.

Corp., 394 F.3d 320, 325 (5th Cir. 2004); Burleson v. Texas Dept. of Criminal Justice, 393 F.3d 577,

584 (5th Cir. 2004). The burden of proof is on the party proffering the witness and admissibility must

be shown by preponderance of the evidence. Bennett v. PRC Public Sector, Inc., 931 F. Supp. 484,

490 (S.D. Tex. 1996).

        The district court’s responsibility is “to make certain that an expert, whether he bases

testimony upon professional studies or personal experience, employs in the courtroom the same level

of intellectual rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire Co.



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v. Carmichael, 526 U.S. 137, 152, 119 S. Ct. 1167, 1179, 143 L. Ed. 2d 238 (1999).

       Before the trial doors open, Daubert requires the trial judge to test the soundness of the

general scientific principles or reasoning on which the expert relies and the propriety of the

methodology applying those principles to the specific facts of the case. Daubert, 509 U.S. at 593-95;

Watkins, 121 F.3d at 984.

                      Dr. Long Is Not Qualified As a Psychologist in Texas

       Dr. Barbara Long, has not provided evidence of her licenses, if any, to perform psychological

testing within the state of Texas. Dr. Long, according to her resume, is presently licensed in the

states of Georgia, California and Florida with no mention of Texas.2 Dr. Long’s resume indicates she

has no experience in treating or evaluating child victims of sexual abuse outside her assessments

related to her legal consulting.

       The Texas State Board of Examiners of Psychologists has set for standards for the various

licenses for Texas psychologists in Title 22 of the Texas Administrative Code, specifically, Part 21:

Examining Boards of Psychologists, §463.1. Rule §463.27 of the same sub-part, further sets out

whereby a “Temporary License for Persons Licensed in Other States” can make application to the

Texas Board for temporary licensure. Neither Dr. Long nor defense counsel has shown evidence of

any such temporary licensure.

       Further, under Title 22, part 21, Rule §463.12, reciprocity is available to applicants who seek

Texas licensure having been actively licensed and good standing in another jurisdiction for five years

preceding filing the application in Texas. No such showing of Dr. Long applying for Texas licensure

via the reciprocity avenue has been made. Nor do the present rules show any of the states in which


       2
           See Resume attached hereto as Exhibit “D”.

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she practices receiving reciprocity from Texas. Nor has Dr. Long provided evidence that she has

obtained a provisional Texas license under Rule §463.13 “Requirements for Licensed Out-of-State

Applicants.” Consequently, any practicing of psychological including the testing Dr. Long has done

in Texas related to the John Doe Plaintiffs in this matter is invalid and unauthorized by the Texas

State Board of Psychologists and therefore, her testimony should be excluded.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully pray that the Court

exclude the expert testimony of Barbara Long, MD. and for such other and further relief to which

they may show themselves to be justly entitled.



                                      Respectfully submitted,


                                      SMITH PEAVY, L.L.C.

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                                      ATTORNEYS FOR PLAINTIFFS

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                               CERTIFICATE OF CONFERENCE

        I hereby certify that on August 31, 2009, I confer via electronic correspondence with counsel
for the Defendants in the above-styled and numbered cause and counsel indicated that the Defendant
parties were opposed to Plaintiffs’ motion.

                                                    /S/ Felecia Y. Peavy
                                                Felecia Y. Peavy



                                  CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was filed electronically with the United
States District Court for the Southern District of Texas, Corpus Christi Division, with notice of the
case activity to be generated and sent electronically by the Clerk of Court with ECF notice being sent
to the following counsel of record or otherwise, pursuant to the Federal Rules of Civil Procedure by
certified mail, return receipt requested on this the 31st day of August, 2009:

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                                                          /S/ Felecia Y. Peavy
                                                        Felecia Y. Peavy




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